Case 1:23-cv-00567-PLM-SJB ECF No.9, PagelD.57 Filed 06/30/23 Page 1 of 4

The U.S. District Court Western District of Michigan

Cook, Robert dba ROBERT LEE COOK

Cook, Lisa dba LISA ANN COOK

United States of States of America,
Plaintiff(s),

V.
KELLOGG COMMUNITY CREDIT UNION,
TRACY L MILLER,
MATTHEW F BURNS,
PAUL K BEARDSLEE,
STEVE HINKLEY

Defendant(s)

Case No. 1:23-cv-567

FILED-GR
June 30, 2023 12:18 PM
CLERK OF COURT
U.S. DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
BY: KB SCANNED BY: VB Ups

The Cook Court presents:

MOTION TO VOID AMENDED APPLICATION AND ORDER OF EVICTION
(Landlord-Tenant) ON MAY 3, 2023 BY PAUL K BEARDSLEE, STATE OF MICHIGAN 10TH
JUDICIAL DISTRICT CASE NO. 22-11341-LT

introduction

Plaintiff(s), Cook, Robert dba ROBERT LEE COOK and Cook, Lisa dba LISA ANN COOK,
before the court by “Special Appearance” require that the following motion be added to

Case No. 1:23-cv-567.

Facts and Cause of this Motion

Paul K Beardslee from The Judiciary Courts of the State of Michigan dba Calhoun County
District Court 10 entered an AMENDED APPLICATION AND ORDER OF EVICTION(Landlord -
Tenant) without jurisdiction on May 3, 2023 to evict Cook, Robert dba ROBERT LEE COOK and
Cook, Lisa dba LISA ANN COOK and violated due process. The ORDER OF EVICTION was void on
its face because Paul K Beardslee never had the authority to make the presentment in the first
place. KCCU didn’t present the instrument or provide their authority to do so. KCCU doesn't
have a valid claim. KCCU didn’t file the 1099 OID, KCCU didn’t file a bond with the United States
Treasury to cover the tax liability. Therefore violated Title 26 USC §7201 - Attempt to evade and
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defeat tax. They didn’t file a tax return along with the statement to qualify for foreclosure
property. That is a false claim and they are in possession of contraband and Paul K Beardslee
didn’t follow due process of law.

ill. Conclusion

CLAIM AND RELIEF / VOID AMENDED APPLICATION AND ORDER OF EVICTION
(Landlord-Tenant)

Plaintiff(s) demand immediate VOID of AMENDED APPLICATION AND ORDER OF

EVICTION (Landlord-Tenant) made in STATE OF MICHIGAN 10TH JUDICIAL COURT Case No.
22-11341-LT on May 3, 2023 by Paul K Beardslee.

Plaintiff(s) say here and will verify in open court that all herein be true.

Done in Good Faith, All Rights Reserved, Without Prejudice,

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By: Cook, Robert dba ROBERT LEE COOK.

Bp: Cet, ln. dba USA AWN COOK...
By: Cook, Lisa dba LISA ANN COOK.

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